           Case 3:22-cv-00178-SDD-SDJ        Document 279     07/17/24 Page 1 of 2




                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

    MINUTE ENTRY:
    JULY 17, 2024
    CHIEF DISTRICT JUDGE SHELLY D. DICK


    DOROTHY NAIRNE, et al.
                                                                        CIVIL ACTION
    VERSUS
                                                                        22-178-SDD-SDJ
    R. KYLE ARDOIN, in his
    capacity as Secretary of
    State of Louisiana, et al.


    This matter came on this day for a Status Conference.

         PRESENT:       Megan Keenan, Esq.
                        Robert S. Clark, Esq.
                        Sarah Brannon, Esq.
                        Sara Romani, Esq.
                        Counsel for Plaintiffs

                        Phillip J. Stratch, Esq.
                        John C. Walsh, Esq.
                        John C. Conine, Jr., Esq.
                        Counsel for R. Kyle Ardoin

                        Michael W. Mengis, Esq.
                        Katherine L. McKnight, Esq.
                        Mark Breiden, Esq.
                        Erika Prouty, Esq.
                        Counsel for the Legislative Intervenors

                        Michael Freeman, Esq.
                        Counsel for the United States

         The parties discussed the status of the case.

         The Court discussed the Status Report1 and the procedural history.

         The Court finds it has jurisdiction to move forward with remedial phase for

reasons stated in open record.



1
    Rec Doc. 273
           Case 3:22-cv-00178-SDD-SDJ     Document 279    07/17/24 Page 2 of 2



      The parties consent to the following deadlines:

      The remedial evidentiary hearing is set to commence on 8/25/2025 at 9:00 A.M. in

Courtroom 3 before Chief Judge Shelly D. Dick.

      Fact Discovery, if any, Expert Reports and Remedial maps shall be completed 90

days before the remedial evidentiary hearing.

      Expert Discovery shall be completed 60 days before the remedial evidentiary

hearing.

      Motions in Limine are due 45 days before the remedial evidentiary hearing.

      A Pretrial Conference before Chief Judge Shelly D. Dick is set for Monday

8/18/2025 at 2:00 P.M.


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